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              FORM 26. Docketing Statement



                                     UNITED STATES COURT OF APPEALS
                                        FOR THE FEDERAL CIRCUIT

                                                             No. 2011-1009

                                      SOVERAIN SOFTWARE LLC
                                                                                                                                         FILED
                                                                                                                            U.S. COURT OF APPEP~          ~or<
                                                                                                                                 THE FEDERAL CIR~ ~. ;
                                                                             v.
                                                                                                                                    OCT 2 2 2 ,.
                                      NEWEGG INC.
                                                                                                                                      JANHORBILi
                                                                                                                                         CLERK
                                          DOCKETING STATEMENT
                  This Docketing Statement must be completed by all counsel and filed with the court within
                  14 days of the date of docketing. When the United States or its officer or agency is a party,
                  this Docketing Statement must be completed by all counsel and filed with the court within
                  30 days of docketing.

                  Name of the party you represent SOVERAIN SOFTWARE LLC

                  Party is (select one)               0 Appellant/Petitioner                       0 Cross-Appellant
                                                      1Z1 Appellee/Respondent                      0 Intervenor
                  Tribunal appealed from and Case No. u.s. District Court, Eastern District of Texas, Case No. 6:07-CV-00511-LED

                  Date of Judgment/Order October 5, 201 0                      Type of Case Civil Action for Patent Infringement

                  Relief sought on appeal
                                               Soverain Software LLC seeks no affirmative relieve, other than affirmance of all issues decided below.



                  Relief awarded below (if damages, specify) -----------------------------
                  Damages in the amount of $2,500,000, plus post-verdict damages, interest and costs; and on-going royalties.

                  Briefly describe the judgment/order appealed from
                  Defendant-Newegg Inc. appeals to the United States Court of Appeals for the Federal Circuit
                  from the Order entering final judgment on August 11, 2010 (ECF No. 435) and from the
                  Order denying Newegg's renewed post-judgment motions for judgment as a matter of law on
                  non-infringement, invalidity, and damages (ECF No. 448).




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  FORM 26. Docketing Statement (continued)




   Nature of judgment (select one)

             Ill Final Judgment, 28 USC 1295
              0 Rule 54(b)
              0 Interlocutory Order (specify t y p e ) - - - - - - - - - - - - - - - -
              0 Other (explain; see Fed. Cir. R. 28(a)(5)) - - - - - - - - - - - - -


      Name and docket number of any related cases pending before this court plus the name ofthe
      writing judge if an opinion was issued
      NONE




      Brief statement of the issues to be raised on appeal _ _ _ _ _ _ _ _ _ _ _ _ _ __
   Soverain Software does not intend to raise affirmatively any issues on appeal and
   will argue for affirmance of all issues decided below.



   Have there been discussions with other parties relating to settlement of this case?

                                                                                 ~Yes         0   No

      If "yes," when were the last such discussions?

             0 Before the case was filed below?
              0 During the pendency of the case below?
             Ill Following the judgment/order appealed from?
      If "yes," were the settlement discussions mediated?                        ~Yes         0   No

      If they were mediated, by w h o m ? - - - - - - - - - - - - - - - - - - - -
      Michael P. Patterson, approved mediator for the United States District Court, Eastern District of Texas




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                                                                                            Form 26

FORM 26. Docketing Statement (continued)


    Do you believe that this case may be amenable to mediation?        eJ Yes      D No
    If you answered no, explain why n o t - - - - - - - - - - - - - - - - - - - - -




    Provide any other information relevant to the inclusion of this case in the court's mediation
    program. _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

    NONE




    I certify that I filed an original and one copy of this Docketing Statement with the Clerk of
    the United States Court of Appeals for the Federal Circuit and served a copy on counsel of
    record, this 21st         day of October                       _20_1_0_ __

    by: Electronic mail and overnight mail.
                                       (manner of service)


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                   Name of Counsel
                                                     t\ '13>~    Signature of Counsel


    Law Firm Jones Day

    Address 222 East 41st Street

    City, State, ZIP New York, New York

    Telephone Number _2_1_2-_3_2_6_-3_9_3_9_ _ _ _ _ _ _ ___

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